                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                               GREEN BAY DIVISION

 SARAH M. STEFFEK, and JILL
 VANDENWYNGAARD, on behalf of
 themselvesand all others similarly situated,,
                               Plaintiffs,

                       vs.                               Case No.: 1:18-cv-00160-WCG

 CLIENT SERVICES, INC., a
 MissouriCorporation; and, JOHN AND
 JANE DOES NUMBERS 1 THROUGH
 25,
                               Defendants.

            ORDER GRANTING PLAINTIFFS’ UNOPPOSED REQUEST FOR
              APPROVAL OF FORM AND METHOD OF CLASS NOTICE

       Plaintiffs, Sarah M. Steffek and Jill Vandewyngaard, by and through Class Counsel,

having moved for approval of the form and method of class notice, and the Court having

reviewed Plaintiffs’ submission; and good cause appearing;

       IT IS on this ___ day of __________________, 2018, hereby ORDERED:

       1.      Plaintiffs’ Request is GRANTED.

       2.      The proposed Notice to Class Members (“Notice”) in the form of submitted with

Plaintiffs’ Request is APPROVED.

       3.      Class Counsel is hereby authorized to retain the services of Heffler Claims Group

LLC, a reputable third-party class action administrator (“Administrator”) for purposes of mailing

the Court’s approved Notice to the Class, receiving any Class Member requests for exclusion,

and establishing a toll-free telephone number and website for responding to Class Member

requests for information and providing case documents.

       4.      Within 7 days after the entry of this Order, Class Counsel shall inform

Defendant’s counsel of the format of an electronic file acceptable to the Administrator for

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supplying Class Members’ names and addresses. The Administrator’s electronic requested file

format shall be one widely used in the industry.

       5.      Within 7 days after Class Counsel provides Defendant’s counsel with the

information set forth in Paragraph 4, Defendant shall supply Class Counsel with an electronic

file in the specified format containing each Class Member’s name and last known address.

       6.      Within 14 days after Defendant’s counsel provides Class Counsel with the

information set forth in Paragraph 5, the Administrator shall mail the Notice to each Class

Member via first-class U.S. Mail.

       7.      For purposes of the Notice’s deadline for a Class Member’s request to be

excluded from the Class, the Administrator shall use the first Wednesday which is 45 days after

the date on which the Notices are mailed.

       8.      If any Notice is returned to the Administrator as undeliverable, the Administrator

shall attempt to obtain an updated address from recognized sources (e.g., U.S. Post Office’s

National Change of Address database and skip tracing databases) and promptly re-mail the

Notice using the updated address.

       9.      Within 14 days after the deadline for a Class Member’s request to be excluded

from the Class, the Administrator shall provide Class Counsel with a declaration setting forth the

number of Notices mailed, the number of Notices returned, the number of Notices for which

updated addresses were obtained and successfully re-mailed, and the number of exclusions

received. Class Counsel shall promptly file that declaration with the Court.

       SIGNED AND ENTERED this ___ Day of ___________________, 2018.



                                                     ____________________________________
                                                            WILLIAM C. GRIESBACH
                                                       Chief Judge, United States District Court


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